Case 1:04-cv-07280-GBD-SN Document 535-2 Filed 04/01/19 Page 1 of 4




            Exhibit 2
Case 1:04-cv-07280-GBD-SN Document 535-2 Filed 04/01/19 Page 2 of 4




    CONFIDENTIAL                                WAMYSA016253
                   Case 1:04-cv-07280-GBD-SN Document 535-2 Filed 04/01/19 Page 3 of 4
                                  In the Name of Allah Most Gracious
                                             Most Merciful


                                                                                  ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
World Assembly of Muslim Youth
   Member of the UN NGO’s                                                          ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
                                                                            ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
                                                                                                          ‫ﻋﻀﻮ ﺍﻟﻤﻨﻈﻤﺎﺕ ﻱ‬



      Ref. No: 1/34184                                                                   ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
                                                                           ‫ﺍﻷﻣﻥ ﺍﻟﻌﺎﻡ ﺍﻟﻤﺴﺎﻋﺪ‬
      Date: 14-06-1433 Hijri                                       The Assistant Secretary-General Office
      Corresponding to: 05-05-2012 A.D.

             To Your Excellency Dr. Anwar Hajaj
             The Manager of the Assembly’s Office in America


             Greetings,
             I hope you are well and in good health.


             In addition to the letter we sent you No. (1/34006) dated on 15/05/1433 Hijri in which we
             requested you to fill in the forms of several subjects for the period from 1992 to 2002 A.D., in
             addition to some up-to-date information about the office, we kindly request you to provide us
             with all the account statements of your office along with the audited budgets of the period from
             1992 to 2002 A.D.


             Kind Regards,
             May the peace and blessings of Allah be upon you.


      Assistant Secretary-General of Offices
           and International Relations                                   Stamp: World Assembly of Muslim Youth
                                                                                General Secretariat / Riyadh
   Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                           Established in: 1972 A.D. – 1392 Hijri
                [signature]




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CERTIFICATE OF ACCIJRACY

STATE of New      York) $
County of New York)


I, Victoria Vaile, Translation Manager for Nova Languages, Inc., being duly sworn, hereby certifr that
Mohanned Khallof is a translator affiliated with Nova Languages, Inc., a corporate member of theAmerican
Translators Association, and that he is competent to translate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: WAMY Letter to USA Office



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Sworn to before me this

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                                                              r Translation Manager




                                                                         Notary

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                                                                        BARBARA CANTON JACKSON
                                                                      Notary Public - State of New york
                                                                              NO. 01 cA6203682
                                                                        Qualified in New york County
                                                                     My Commission Expires Apr 1 3,2021




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